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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FT. MYERS DIVISION

 JIMMY LEE KROFT,
       Plaintiff,
 vs.                                           Case No. 2:20cv396-JLB-NPM
 MARK S. INCH, et al.,
       Defendants.

                           NOTICE OF APPEARANCE

       NOTICE IS HEREBY GIVEN that the Undersigned Attorney enters his

appearance in the above cause as counsel for the Plaintiff, JIMMY LEE KROFT,

and requests that all pleadings, motions, and notices be forwarded to this Attorney

at the address set forth below.

                    Respectfully Submitted, s/ James V. Cook_________
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                                            Attorney for Plaintiff

I CERTIFY the foregoing was filed electronically on 12/16/2021, serving counsel
of record registered to be notified by the CM/ECF electronic filing system.

                                                      /s/James V. Cook__________
